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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                                     11/03/2021
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HVN CLOTHING, INC. and HARLEY VIERA-
NEWTON,

                                                Plaintiffs,                       21-CV-8852 (GHW) (KHP)

                             -against-                                        ORDER ADJOURNING CONFERNCE

SHEIN DISTRIBUTION CORP.,

                                                 Defendant.
-----------------------------------------------------------------X
KATHARINE H. PARKER, United States Magistrate Judge:

          The hearing in this matter scheduled for Wednesday, November 3, 2021 at 3:30 p.m. in

Courtroom 17-D, United States Courthouse, 500 Pearl Street, New York, New York is hereby

adjourned sine die.

         SO ORDERED.

DATED:             New York, New York
                   November 3, 2021

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                                                                     KATHARINE H. PARKER
                                                                     United States Magistrate Judge
